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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

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SIWELL, INC. d/b/a CAPITAL Docket No, 2:21-cvpqhR 8hFyJXBI-Ch. Wy. 33

MORTGAGE SERVICES OF TEXAS,

 

A CIVIL ACTION
Plaintiff,

V.
NOTICE OF MOTION TO DISMISS
ALEXI VOLOSEVICH, TAMMY
SEWELL, JOSEPH JAMES REAL
ESTATE, FOUNDATION REAL ESTATE, o
and CLEAR SKIES TITLE AGENCY LLC, | Return Date: November 2, 2021 -

Defendants.

 

 

PLEASE TAKE NOTICE that, on Wednesday, January 19, 2022 at 10:00 am or ©
assoon thereafter as the defendant may be heard, Defendant Foundation Real Estate,
shall move before the Honorable Cathy L Waldor., at the Martin Luther King, Jr.
Courthouse, 50 Walnut Street, Newark, New Jersey, Courtroom 5D, pursuant to Federal
Rule of Civil Procedure 12(b)(6), for an order dismissing all claims against Foundation

Real Estate;

PLEASE TAKE FURTHER NOTICE that in support of the Motion, defendant
states that Foundation Real Estate was not in existence during the time of mentioned
transaction at 140 Badger Ave in Newark NJ 07106. Joseph James Real Estate was the
brokerage and its broker was the agent representing both the seller and the buyer. It seems
that Joseph James Real Estate is no longer in business and Alexei has no way of reaching the

Errors and Omissions Policy to get counsel.
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Dated: November 3, 2021

Respectfully Submitted,
By: Alexei Volosevich
655 Kearny Ave Ste 203
Kearny, NJ 07032
 

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